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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          In re Ex Parte Application of Eshelman
                                                                              ,             Case No. 5:23-mc-80015-EJD
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          Google, Inc.                      ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Paul Alan Levy               , an active member in good standing of the bar of

                                  11    District of Columbia                  , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Movant J Doe                      in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Matthew Cagle                    , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         286101

                                  16   1600 20th Street, NW Washington DC 20009             ACLU of Northern California, 55 Drumm
                                  17    MY ADDRESS OF RECORD                                Street.
                                                                                            LOCAL COSan Francisco
                                                                                                      -COUNSEL      CA 94111
                                                                                                               ’S ADDRESS OF RECORD

                                  18   (202) 588-7725                                       (415) 621-2493
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       plevy@citizen.org                                    mcagle@aclunc.org
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 946400              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _______
                                                                                                      0       times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 5:23-mc-80015-EJD Document 24 Filed 06/22/23 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 6/20/2023                                              Paul Alan Levy
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Paul Alan Levy                          is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:     June 22, 2023

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                                                                                  HON. EDWARD J. DAVILA
                                  18                                              UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
